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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                            CRIMINAL MINUTES -- GENERAL

Case No. CR 18-124-MWF                             Dated: August 2, 2021
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PRESENT: HONORABLE MICHAEL W. FITZGERALD, U.S. DISTRICT JUDGE

       Rita Sanchez                      Amy Diaz                         Mark Aveis
     Courtroom Deputy                  Court Reporter                  Ian Y. Yanniello
                                                                        Carolyn Small
                                                                      Asst. U.S. Attorneys


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U.S.A. vs (Dfts listed below)           Attorneys for Defendants

1.     Philip James Layfield                      1.    Steven A. Brody
       Present - Bond                                   Anthony Solis
       (Waiver also on file)                            Present - Appointed

__________________________________________________________________________
PROCEEDINGS:         VTC: SECOND MOTION IN LIMINE TO PRECLUDE
                     EXPERT TESTIMONY OF JEAN PUGH [275]

       Case called and counsel state their appearance. The Motion Hearing is held.

      The Court invites counsel to present their oral arguments. Arguments by counsel are
heard. For reasons stated on the record, the Court denies the motion.

       A Further Status Conference is set for August 5, 2021 at 11:00 a.m.

       IT IS SO ORDERED.




MINUTES FORM 6                                                               Initials of Deputy Clerk rs
CRIM -- GEN                                                                               :56
